Case 3:18-cv-01023-MPS Document 352-8 Filed 09/30/21 Page 1 of 3




                     EXHIBIT 16
To:      Steve Arnall[sarnall@capitalagroup.com]
From:                  Case 3:18-cv-01023-MPS Document 352-8 Filed 09/30/21 Page 2 of 3
         Joe Alala III[JAlala@capitalagroup.com]
Sent:    Wed 4/27/2016 3:12:52 PM (UTC-04:00)
Subject: Re: target list
image001.png
image002.png
image003.png

Sure

Joe Alala, III
Chairman and CEO
Chief Investment Officer
Capitala Group
Capitala Finance Corp (NASDAQ-CPTA)
CapitalSouth Growth Fund
Phone - 704-376-5502 ext. 24
www.capitalagroup.com
Please forgive any typing or grammatical errors. It is I the operator who is challenged by emails while constantly
traveling.
Sent from my iPhone

On Apr 27, 2016, at 3:12 PM, Steve Arnall <sarnall@capitalagroup.com> wrote:


       You want me on this call?



       Stephen A. Arnall | CFO
       p 704 936 4930 | CapitalaGroup.com
       <image001.png> <image002.png> <image003.png>

       From: Joe Alala III
       Sent: Wednesday, April 27, 2016 3:06 PM
       To: Casey Swercheck
       Cc: Richard Wheelahan; Steve Arnall
       Subject: RE: target list

       Casey we call you at 315

       Joseph B. Alala III | Chairman · CEO
       p 704 376 5502 ext. 24 | CapitalaGroup.com
       <image001.png> <image002.png> <image003.png>

       From: Casey Swercheck
       Sent: Wednesday, April 27, 2016 3:00 PM
       To: Joe Alala III
       Cc: Richard Wheelahan; Steve Arnall
       Subject: Re: target list

       Same as what I just said to richard. I think we really need to avoid giving some sort of global exclusivity to nova, which
       is what they are asking for. A four person shop in Connecticut doesn't need it in my opinion. What are your best 1000
       names and we'll give you exclusivity on that. Toughest part is going to be the consultants - they touch a lot of names
       but most aren't discretionary they are pure advisory. So you need to know them and their client. I'm supposed to talk
       to Bryan at four today - want to connect before ?
                                                                                                               CG00023570
       Casey Swercheck
Vice President - Fort Lauderdale Office
               Case 3:18-cv-01023-MPS Document 352-8 Filed 09/30/21 Page 3 of 3
CapitalSouth Partners & Capitala Finance Group
Casey@capitalagroup.com
(O) 954.848.2860
(M) 215.796.8410
On Apr 27, 2016, at 2:54 PM, Joe Alala III <JAlala@capitalagroup.com> wrote:

     Casey

     There are so blue chip names on here – What you think. Nova will fight hard with
     some of these names

     Joseph B. Alala III | Chairman · CEO
     p 704 376 5502 ext. 24 | CapitalaGroup.com
     <image001.png> <image002.png> <image003.png>

     From: Tom Sullivan [mailto:TSullivan@sandleroneill.com]
     Sent: Wednesday, April 27, 2016 1:12 PM
     To: Joe Alala III; Richard Wheelahan
     Cc: Steve Arnall
     Subject: target list

     Joe and Richard,

     Here is our initial target list. The vast majority of these accounts have transacted business with us on
     some kind of a private deal. The deal types and amounts may vary but this where we think are the
     obvious first calls.

     Joe, I just want to confirm that if we come up with additional names as we begin to make calls that we
     will be protected on them assuming that they are NOT already on a Nova or Capitala list.

     We are excited at the opportunity to work with you guys.

     Please keep us up on the progress of the first close so that we can get ready internally to come out of
     the gates strong.

     Thanks,
     Tom

     Thomas J Sullivan
     Sandler O'Neill + Partners, L.P.
     1251 Avenue of the Americas │6th Floor │New York, NY 10020
     Direct: 212-466-7740
     Cell: 917-838-2131
     tsullivan@sandleroneill.com




     ______________________________________________________________________________
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     delete it and do not read, act upon, print, disclose, copy, retain or
     redistribute it. Visit this URL for important additional terms relating to this
     e-mail. http://www.sandleroneill.com/email-disclaimer.htm
     ______________________________________________________________________________
     _
                                                                                                      CG00023571

     <Sandler O'Neill Target List.pdf>
